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 6
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 7 United States of America

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 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          1:07-CR-00156 LJO
12                                                      1:16-CV-00916-LJO
                                  Plaintiff,
13                                                      STIPULATION PERMITTING DEFENDANT TO
                            v.                          FILE AN AMENDED PETITION AND
14                                                      RESETTING GOVERNMENT’S RESPONSE
     KEITH ROSE,
15                                                      DEADLINE
                                 Defendant.
16

17          The United States of America, by and through PHILLIP A. TALBERT, Acting United States

18 Attorney, and KATHLEEN A. SERVATIUS and KIMBERLY A. SANCHEZ, Assistant United States

19 Attorneys, and the defendant Keith Rose, by and through his attorney, Peggy Sasso, hereby stipulate to

20 permit the defendant to file an amended petition in light of a factual error that was discovered that might

21 alter the nature of the legal argument. The defendant’s amended petition shall be filed on or before

22 November 2, 2016 and the government’s response shall be filed on or before December 1, 2016.

23 Dated: September 28, 2016                               PHILLIP A. TALBERT
                                                           Acting United States Attorney
24

25                                                   By: /s/ Kathleen A. Servatius
                                                         KATHLEEN A. SERVATIUS
26                                                       Assistant United States Attorney

27 Dated: September 28, 2016                      /s/ Peggy Sasso
                                                  Peggy Sasso, Attorney for Keith Rose
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      STIPULATION AND ORDER THEREON

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 1                                        ORDER

 2

 3 IT IS SO ORDERED.

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       Dated:    September 29, 2016           /s/ Lawrence J. O’Neill _____
 5                                      UNITED STATES CHIEF DISTRICT JUDGE

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     STIPULATION AND ORDER THEREON

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